Case: 1:17-md-02804-DAP Doc #: 2379-14 Filed: 08/14/19 1 of 5. PageID #: 390225




                EXHIBIT 64

                REDACTED
          Case: 1:17-md-02804-DAP Doc #: 2379-14 Filed: 08/14/19 2 of 5. PageID #: 390226


Completed e-Form: Contact Form (SC00J REV2005)                                                                                                                                    Page 1 of 2




•
                                                             Contact Form (SC001 REV2005)

           Auto Mail
           FROM:                                                     _ _ _ _ _ _ _ * required
                             jabrown@ameri~o__u_r_ce_b_e__r~ge_n_._c_om
           SUBJECT: Contact Form (SC001 REV2005)

           DATE:             !02-09-2007                                                                   • required


           Division/Pharmacy Name
           Company:
           !AmerisourceBergen
           City, State:
           jcorona, CA ___ _
                        -·
           Contact Date and Time:
           j2/9/07 at 10: 13 a.m.                                              ---·---·---·-
                                                                           -
                                                                                               -----       -----------··-·------------~·---·-----------·-
           Associate Name:
          !Alesia Brown_                                     .. ____________ ·····-···-·-·-__J• required
           Type of Contact:
           mi Visit E          Phone         fi     Mail       ljffiFax          Iii Other
           Contact With:
           P' DEA Iii State Iii Other Regulatory
           Representative's Name:
          lusa_Young _______ _ .
          Title:
          IDEA Diversion InvestigatiorSupervisor
                                   - ·-·--------------- ---------------- -----    - - - - - - - - ·-·-····- -··--------------·-·---·- ·----· ----- ·- ---···-··--··-··--
          Office Phone:
          j9SL328.620l
          Office Location:
          !~~erslde Office
                                                                                ___- __~ ---------·-··----·-----------· . ·--·- -·------
          -·-··- ___________ ::·:::..-==-···-_·-·.=::.:·.:::·::-··----:=:...-._-_-                                                                 --·-··--·-··--· -   ·- ·----

          Brief Report of Contact
          Account Name:

          L_ --------------- -------
          Account Number:

          '-=-=c:. -- -~
          Purpose of Contact:
           ~ Request for Information from division                                    P Division requesting information from agency                    Jjij Division
          requesting clarification of a 222 Blank                                 IJJ Division reporting suspicious order @ Other
          Invoice Number:


          Product:                                                                                    .



          Follow Up Required:
           ~ No        @ Yes           • required




          Comments:

file://C:\Documents and Scttings\ab2971\Local Settings\Temporary Internet Files\OLK28\Contact Fom1 (SC0 ... 5/1/2007


CONFIDENTIAL- SUBJECT TO PROTECTIVE ORDER                                                                                                                              ABDCMDL00398234
          Case: 1:17-md-02804-DAP Doc #: 2379-14 Filed: 08/14/19 3 of 5. PageID #: 390227

Completed c-Form: Contact Form (SC00I REV2005)                                                            Page 2 of2

           Called DEA Supervisor Lisa Young regarding                                ;r:;



•
           License has expired, they have been under investigation with the San
           Diego DEA office. San Diego DEA Office has provided a letter for
           allowing them an extension to order product, however, they will not renew _, _,

           ;~eir license_a_;;;r~~~a~ ~~~;:_:~~~~t~~~;~_:~;;_:~nt~:t;;~~;[:;:~~c:: _     ~

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          Case: 1:17-md-02804-DAP Doc #: 2379-14 Filed: 08/14/19 4 of 5. PageID #: 390228


Completed e-Form: Contact Form (SC00I REV2005)                                                                                                                                                                                                                                                                               Page l of 2




•
                                                                                                       Contact Form (SC001 REV2005)


           Auto Mail
           FROM:                                                                                                        -__-... • required
                                          ,...~-_b_-rj-~~-n-d-in_e_@_am-e-ri-so_u_r_~~-b_e_r_g_e_n-.c-o_m_______- _-_ -__

           SUBJECT: Contact Form (SC00l REV2005)

           DATE:                          102-02- 07                                                                                                                                            • required


           Division/Pharmacy Name
           Company:
          !corona Division
          City, State:
                                                                                                                                                              l
          jcorona, CA ··- ... . .                                                                                                                           ... 1

          Contact Date and Time:

          [02/02/07 ------ ---- ·------ -···•--·-----·- ·-----_J                                                                                                          ----------- - -- -- - - -- - - - ····--------·- --
           Associate Name:
          ,~!.rr.i_J3_r~~~n_cJ_i~_e _ ____ _.. ... _ .... __ _ _ _______ __ ____ ..__}                                                                              required

          Type of Contact:
            Ii Visit E                           Phone                     Iii Mail                        mFax E Other
          Contact With:
            p       DEA               LJ State                         mOther Regulatory


 ,         Representative's Name:
          l!_h_e_r~sa Garnett .. __ _ ... ______________
          Title:
          loh,ersion Investigator
          - · - - - ---- -
          Office Phone:
          lass-616-4256
                                     ·-   - -   --
                                                              - - - - - - -- - - - - - -- - - - -- - - - - - - - - - - - - - - - - - 1 1

                                                                  · •···
                                                                                                                                                      ___J

                                                                           - ------------- ----- - -- ------ - -· - - -····--·----·--- - -----------~- - - ---------··- - ------ -- --- - -


          Office Location:
          lsan_rnego, CA ___ , -------- -·- .. -- -•" .. .                                                             ... . _., _ _ _           ____ ___J
                                                                                                                                                              !
          • •-•- -- • -• --• • • - - -•• •- - •-- - • •• -   --   -   - • ••-• • - • • ••H• •   •• -   •   •• •   ••   • • • •- •-   --   - - ••• --•• - - - - --   +•••-- ••• • • - •• • - -••+• •• •• •   • • - • - - - • - • - • - - - - •• •-•-•••   - - •- • •-•• •-••• - • • • - - •-•--••- - - • •••• -   • -•••- -




           Brief Report of Contact
          Account Name:
          l~_all_b_r.()ok Phcy C:los~-~ -_[)_()!?_~------· ...                                                                                         .. .J
                                                                                                                   - - - - -..- -- ---- ------------·- - - - · - ------                                                                                                       - -- - - - -- 11
          Account Number:
                                                                                                                                                              I
          jg~2-14833B_                                                                                                     . . ·-- .... .. .... j
          Purpose of Contact:
            Ii Request for Information from                                                                            division                 P Division requesting information from agency fi Division
          requesting clarification of a 222 Blank                                                                                           ill Division reporting     suspicious order G Other
          11--- -- -- -------- - - - ----- -- - ---                                                                                                              · ~ ·--·---··-----·- -·------ - --- -- -- - -                                                                                                           - 11
          Invoice Number:

          L. . - ---·-•·-·----·-·-- ·-···· ·•· ·- - · --··-·• ·--· -·--- ·-· -···- -----· · -·-· - ------ j--- ---·----·····-·· ....
          Product:
                                                                                                                                                                                           Cl    .••..

                                                                                                                                                                                                                           •




          - - --..- ·-··- -- ··-"·•-·-..                              • - ·"'""        -·
           Follow Up Required:




•
           Ii. No G Yes • required
          ------ ------ -·- -·-----·- ------------·--·- ··- ----------- -------·-- - - - -- -




          Comments:

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Completed e-Form: Contact Form (SC00J REV2005)                                                              Page 2 of 2

           Fallbrook Phcy Closed Door (012-148338) DEA license BF4114764 expired




•
           on 09-30-06. DEA did not renew and pharmacy was on administrative
           hold.
           Called Theresa to check status.
           Theresa states that they have advised pharmacy that they may continue
           doing business until further actio11_ i_s taken pending further




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